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                                                           Exhibit             4




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  RO DA GREAT x BAG UP
  https://www.youtube.com/watch?v=d0U-7nGbD7Q
  1:51
  Directed by SUPPARAY
  Published on Feb 21, 2016

  [Ex 66   -   “Bag Up”    rap video played. (7/24/18, R. 1138, Pg ID
  13463]


  Lyrics

  I jus’ want my bag up (my bag up)

  I jus’, I jus’ (cellphone ringing, female voice talking), I
  jus’, I jus’, want my bag up (bag up)

  I jus’ want my bag up (bag up)

  I jus’, I jus’ (cellphone ringing, female voice talking), I
  jus’, I jus’, want my bag up (bag up)

  I jus’ want my bag up (bag up)

  I jus’, I jus’, I jus’, I jus’ want my cash up (cash up)

  R P White, R P Block, S M B we still at the top (at the top)

  I jus’, I jus’ want my bag up (bag up)

  I jus’, I jus’, I jus’, I jus’ want my cash up (cash up)

  Down the way, these niggas can’t stand us (stand us)

  Cuz’ when we touch down we start doin’ dances (dances)

  SQUAD!

  I jus’, I jus’ want my bag up (bag up)

  I jus’, I jus’, I jus’, I jus’ want my cash up (cash up)

  Down the way, these niggas can’t stand us (stand us)


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  ‘Cuz when we touch down we start doin’ dances (dances)

  SQUAD!

  Down the way since ‘06 (‘06!)

  And I got shot down the way in ‘06 (‘06!)

  Niggas set me up, play me like a walkin’ lick (walkin’ lick)

  Had me feelin’ like Blay when doc said never walk again (what up
  Blay)

  Had me feelin’ like fifty when he made many men (what up fifty)

  Had me feelin’ like kleka they ask for solos (what up klek)

  I been rockin’ with sunny when his name was Bolo (what up Bolo)

  Down the way with Skip rockin’ polo’s (what up Skip)

  I didn’t have to take a trip ‘cuz my cousin Bo (what up Bo… Bo)

  Make the money, bring it back, that’s is all I know
  (uninteeligable

  If I ain’t down the way then I’m in the trap (I’m in the trap)

  If you Enzo then you ain’t my brother

  An tell them other niggas, they don’t want no trouble

  We been winnin’, ten years this ain’t no joke

  R. I. P. when I catch you, I ain’t no chump

  An fuck the FBI, them niggas hoes

  SQUAD!

  I jus’, I jus’ want my bag up (bag up)

  I jus’, I jus’, I jus’, I jus’ want my cash up (cash up)

  Down the way, these niggas can’t stand us (stand us)
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  Cuz’ when we touch down we start doin’ dances (dances)

  SQUAD!

  I jus’, I jus’ want my bag up (bag up)

  I jus’, I jus’, I jus’, I jus’ want my cash up (cash up)

  Down the way, these niggas can’t stand us (stand us)

  Cuz’ when we touch down we start doin’ dances (dances)

  SQUAD!

  Bitch you can call me




                                       4
